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                                   5                                  UNITED STATES DISTRICT COURT

                                   6                                 NORTHERN DISTRICT OF CALIFORNIA

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                                         SHUFEN MA,
                                   8                                                        Case No. 23-cv-05060-JCS
                                                        Plaintiff,
                                   9
                                                 v.                                         ORDER DENYING MOTION FOR
                                  10                                                        LEAVE TO AMEND
                                         SAN FRANCISCO ESTUARY
                                  11     INSTITUTE,                                         Re: Dkt. No. 56

                                  12                    Defendant.
Northern District of California
 United States District Court




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                                  14          Plaintiff brings a motion for leave to amend her complaint (“Motion”) in order to include
                                  15   additional factual allegations in connection with the single failure to hire claim the Court has
                                  16   permitted to proceed past the pleading stage in this case. In particular, the proposed amendments
                                  17   add facts about Defendant offering another individual one portion of the Environmental Scientist
                                  18   position after the person hired advised Defendant that he would prefer to focus on another portion
                                  19   of the position. The facts Plaintiff seeks to add do not change the theory of her claim, which the
                                  20   Court has already found was sufficiently pled under the notice-pleading standard of Fed.R.Civ.P.
                                  21   8(a). Furthermore, Defendant concedes that it “is already on notice of her allegations” and that
                                  22   “Plaintiff need not amend her complaint to present these additional facts in support of her failure
                                  23   to hire claim via motion or at trial.” Dkt. no. 57 at 5. Thus, permitting Plaintiff to amend her
                                  24   complaint for a third time will not meaningfully change Plaintiff’s case even while it will delay
                                  25   the case and require Defendant to incur additional time and expense answering the amended
                                  26   complaint. Under these circumstances, the Court finds that permitting Plaintiff to amend her
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                                   1   complaint is not in the interest of justice under Fed.R.Civ.P. 15(a)(2). The Motion is DENIED.1

                                   2           IT IS SO ORDERED.

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                                   4   Dated: February 21, 2025

                                   5                                                   ______________________________________
                                                                                       JOSEPH C. SPERO
                                   6                                                   United States Magistrate Judge
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Northern District of California
 United States District Court




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                                  28    The parties have consented to the jurisdiction of a United States magistrate judge pursuant to 28
                                       U.S.C. § 636(c).
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